Case 1:19-cr-20178-CMA Document 67 Entered on FLSD Docket 06/04/2019 Page 1 of 2



                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                               CASE NO. 19-20178-CR-ALTONAGA

  UNITED STATES OF AMERICA,

         Plaintiff,
  vs.

  DANE ROSEMAN and
  IVAN ACEVEDO,

        Defendants.
  _______________________________/

                                   ORDER CONTINUING TRIAL

         THIS CAUSE came before the Court on June 3, 2019 for a status conference, and upon

  Defendants’ ore tenus Motion to Continue the Trial. The Court has considered the Motion, and

  being otherwise fully advised, it is

         ORDERED AND ADJUDGED that the Motion is GRANTED. The interests of justice

  served by a continuance outweigh any interest of the public or the Defendants in a speedy trial.

  As a result, the period of delay resulting from this continuance – i.e., from the date the Motion was

  presented, June 3, 2019, to including the date trial commences – is excludable time under the

  Speedy Trial Act. See 18 U.S.C. § 3161. The parties shall adhere to the following pre-trial and

  trial schedule:

         1.         All pre-trial motions and motions in limine must be filed by December 16, 2019.

  Each party is limited to filing one motion in limine; if there is more than one Defendant, Defendants

  shall file a combined motion. Motions in limine may exceed the page limits allowed by the Rules.
Case 1:19-cr-20178-CMA Document 67 Entered on FLSD Docket 06/04/2019 Page 2 of 2



                                                          CASE NO. 19-20178-CR-ALTONAGA

         2.      The deadline for the tendering of guilty pleas is January 27, 2020. See, e.g.,

  United States v. Gamboa, 166 F.3d 1327, 1331 (11th Cir. 1999) (citing United States v. Ellis, 547

  F.2d 863, 868 (5th Cir. 1977)).

         3.      Calendar call will be held on Tuesday, February 11, 2020 at 9:00 a.m. The case

  is set for Jury Trial during the two-week trial period that begins February 18, 2020.

         4.      A status conference is scheduled for July 8, 2019 at 1:00 p.m. As Defendants

  reside in California, they are permitted to appear at this status conference, and any future status

  conferences, via video conference from their local courthouse(s). Counsel for Defendants shall

  contact the Court’s Courtroom Deputy to make the necessary arrangements.

         DONE AND ORDERED in Miami, Florida, this 3rd day of June, 2019.




                                                         _________________________________
                                                         CECILIA M. ALTONAGA
                                                         UNITED STATES DISTRICT JUDGE

  cc:    counsel of record




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